                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

In re:
                                                               Case No. 23-49817
Residents First, LLC,                                          Chapter 11
                                                               Hon. Mark A. Randon
     Debtor.
_______________________________________/

          DEBTOR’S SUBCHAPTER V PLAN OF REORGANIZATION

PREPARED BY:

HEILMAN LAW PLLC
Ryan D. Heilman (P63952)
Attorneys for Debtor
40900 Woodward Ave., Suite 111
Bloomfield Hills, MI 48304
(248) 835-4745
ryan@heilmanlaw.com


                                    INTRODUCTION

        Residents First, LLC (“Debtor”) proposes this plan of reorganization (the “Plan”)
for the resolution of outstanding claims against and interests in the Debtor pursuant to
chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”). Subject to the terms of this Plan, this Plan contemplates the
Debtor’s reorganization. The Debtor is the proponent of the Plan under Bankruptcy
Code sections 1189(a) and 1129.

                     BRIEF HISTORY OF DEBTOR’S BUSINESS

        Debtor manages six separate manufactured mobile housing communities. Debtor
handles all leasing, rent collection, maintenance, landscaping, utilities, customer
relations, and all other aspects relating to maintenance and management of the
communities. The communities are each related companies owned, indirectly, by
Debtor and various relatives of Debtor and certain related trusts. Debtor was organized
under the laws of the state of Michigan in 2010 originally under the name Reliance
Management Associates, LLC. Debtor changed its name to Residents First, LLC on
January 1, 2021 and operates its business of its office in Birmingham, Michigan.
Debtor’s principal is Ara Darakjian (Manager), who owns 100% of the equity interests in
Debtor through his wholly owned company TIR Equities, LLC.




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        Debtor’s business operated at a loss throughout 2023 largely, but not solely, due
to costs and expenses associated with litigation with Champion Home Builders, Inc.
(“CHB”). On October 3, 2023, CHB obtained a judgment against Debtor in the amount
of $478,864.90, an amount which Debtor is not able to pay. Anticipated efforts by CHB
to garnish or otherwise execute on the judgment would likely have left Debtor without
resources necessary to continue operations. To avoid a cessation of operations and
resulting liquidation, Debtor commenced this Chapter 11 proceeding to and provide
Debtor with an opportunity to reorganize for the benefit of all creditors.

       Through this proposed Plan, Debtor intends to reorganized and continue
operating its business, and to make pro rata distributions to General Unsecured
Creditors equal to Debtor’s projected disposable income during the three-year Plan
Term, as set forth below.

                             PLAN SUPPORT AGREEMENT

        Debtor has negotiated an agreement in principle with Founding Partners for
support of Debtor’s reorganization efforts. Under this agreement, if the Plan is
confirmed, Debtor will assume its Property Management Agreement with Founding
Partners with revisions through which Founding Partners will ensure that Debtor has
sufficient funds to (i) operate, (ii) pay all Debtor’s secured obligations and lease
obligations, (iii) pay all professional fees and Administrative Claims Allowed in this
Chapter 11 Case, (iv) pay all Allowed Priority Claims, and (v) distribute a minimum
distribution on behalf of General Unsecured Creditors of no less than $15,000 per year
during the Plan Term, for total distributions to General Unsecured Creditors of $45,000
(the “Support Agreement”).

       The Property Management Agreement permits termination by Founding Partners
or Debtor with or without cause. As part of the Support Agreement, Founding Partners
agrees to not terminate the Property Management Agreement except with cause,
provided, however, that in addition to the events giving rise to “Cause” laid out in the
Property Management Agreement, Cause for termination shall also include (i) a change
in control of Debtor through which Debtor’s principal, Ara Darakjian, is no longer in
control of Debtor’s day-to-day operations, and (ii) any lawsuit or similar proceeding by
the Debtor, on behalf of the Debtor whether derivatively or otherwise against Founding
Partners or any of Founding Partners’ subsidiaries or affiliates. If the Property
Management Agreement is terminated for cause, the Support Agreement shall also be
automatically terminated.

       If the Plan is confirmed on a consensual basis, Debtor will waive and release all
claims and potential claims against Founding Partners, its subsidiaries and affiliates
(collectively, “FP Affiliates”), as well as all affiliates and insiders of Debtor, as those
terms are used in 11 U.S.C. §§ 101(2) and (31), including Mr. Darakjian, his relatives,
and all entities owned or controlled by Mr. Darakjian or his relatives (the “Related
Parties”). (Due to the interrelationship between Debtor and Founding Partners, all or
essentially all affiliates of Debtor are also affiliates of Founding Partners.)



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        If, however, the Plan is confirmed under 11 U.S.C. § 1191(b), no claims or
potential claims against the foregoing Related Parties will be waived. Instead, the
Subchapter V Trustee, or such other person as is appointed by the Court, shall evaluate
all claims or potential claims against the Related Parties and shall determine whether
any actions or lawsuits should be brought against any of the Related Parties and, if so,
shall have full authority to commence and prosecute such lawsuit or similar action (a
“Related Party Action”). However, as set forth above, if Founding Partners or any of the
FP Affiliates are subject to a Related Party Action, Founding Partners may terminate the
Property Management Agreement and the Support Agreement for Cause. Further,
Founding Partners shall in no event be required to fund any Related Party Action or any
investigation into or preparation of any Related Party Action. For clarification, the
investigation and report to be prepared by the Subchapter V Trustee pursuant to the
Court’s Order Granting Subchapter V Trustee Expanded Powers (the “Expanded
Powers Order”) [ECF # 50] is not considered an investigation into or preparation for a
Related Party Action for these purposes.

        In the event that the Property Management Agreement and Support Agreement
are terminated, Debtor will promptly liquidate its assets and will cooperate with the
Subchapter V Trustee to disburse the liquidation proceeds to all creditors in the order of
their priorities under the Code.

     A full copy of the Property Management Agreement as revised by the Support
Agreement, will be filed as an additional Exhibit to the Plan once finalized.

                                     PROJECTIONS

       The Debtor’s Projections, to be attached as Exhibit A, show Debtor’s Projected
Disposable Income and how the Projected Disposable Income has been calculated. The
projections are based on Debtor’s current and historical operations, and revisions to
Debtor’s Property Management Agreement with Founding Partners, LLC (“Founding
Partners”), a related party that controls each of the manufactured mobile housing
communities managed by Debtor. The projections are Debtor’s best estimate of the
Debtor’s revenues and expenses over the next three years and the resulting disposable
income available for distribution to General Unsecured Creditors.

         The projections begin on May 1, 2024. The actual commencement of the three-
year Plan Term (as defined below) may commence later depending on the Confirmation
Date. The starting cash amount is Debtor’s best estimate of cash on hand as of May 1,
2024 given expected receipts and payments before that date. Debtor’s receipts can be
difficult to project and the starting cash is an estimate only. Debtor has smoothed
ordinary operating payment receipts – Debtor does not anticipate that receipts will be
received precisely as and when projected but the projections show Debtor’s best
estimates of its projected future financial performance. Nevertheless, all projections are
necessarily uncertain and these projections are no different. Debtor does not guaranty
or warrant the accuracy of the projections and actual results may be better or worse.

      As shown in the projections, and based on the Support Agreement described
above, Debtor estimates that by continuing to operate the business, Debtor will be able
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to make total payments to General Unsecured Creditors over a three-year period of
$15,000 per year for total payments of $45,000, after all payments required under the
Plan on account of all secured, administrative and priority claims. Based on Debtor’s
anticipated agreement with Founding Partners, this distribution is not expected to be
decreased due to the total amount of administrative and priority claims allowed against
Debtor, unless a Related Party Action is commenced. Although it is possible that
Debtor’s actual disposable income during the Plan Term will exceed the projected
disposable income, based on Debtor’s historical operations and history of generating
losses, Debtor does not expect actual results to exceed the projected disposable
income.

                                LIQUIDATION ANALYSIS

        The Debtor’s liquidation analysis, to be attached as Exhibit B, shows the likely
result of near-immediate liquidation of all Debtor’s assets, and attempts to calculate the
resulting net value available for unsecured creditors, after costs, expenses, attorney
fees, and trustee fees. All values stated in the Liquidation Analysis are based on
Debtor’s good faith estimates, and have not been subject to audit or appraisal. The
estimates shall not be construed in any way as guarantees, warranties or anything more
than current estimates, and shall not be binding on Debtor or any party-in-interest.

        As shown in more detail in the liquidation analysis, Debtor anticipates that there
will be insufficient funds in a liquidation to pay all secured, administrative and priority
claims, and that general unsecured creditors would receive no distribution whatsoever
in the event of a liquidation.

        Liquidation values of physical assets are substantially similar to the values listed
in Debtor’s Schedules. Liquidation values of cash, receivables and similar assets are
based on Debtor’s projected cash and receivables as of May 1, 2024, actual values may
differ significantly from these projections.

        Debtor’s liquidation analysis assumes that Debtor will reject all leases and will
immediately return all vehicles to the respective leasing company but will remain liable
for the remaining months under the lease. It is possible that in a liquidation, the Debtor
or other liquidator could obtain a discount against the remaining months’ lease
obligations by returning the vehicles. Any liability to vehicle lessors after the return of
the vehicles is treated as General Unsecured Claims. Because the liquidation analysis
shows no likelihood of any distribution on account of General Unsecured Claims, the
amount of these Claims are ultimately immaterial to the results of the liquidation
analysis.

       The liquidation analysis also assumes that Debtor will use all available collateral
securing a secured obligation to pay that obligation. Most notably, this includes the loan
obligations to the Small Business Administration (“SBA”) in the approximate amount of
$98,000 (the “SBA Loan”), which is secured by substantially all Debtor’s assets,
whereas if the Plan is confirmed, Debtor intends to continuing making interest only
payments on the SBA Loan until the principal of the SBA Loan becomes due and owing
according to its terms long after the end of the Plan Term. As shown in the liquidation
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analysis, the SBA Loan alone exceeds the total anticipated value of all Debtor’s assets
before even considering administrative and priority claims.

                                 ARTICLE I
                           DEFINITIONS, RULES OF
                  INTERPRETATION AND COMPUTATION OF TIME

      1.1    Scope of Definitions.

       For purposes of this Plan, except as expressly provided otherwise or unless the
context requires otherwise, all capitalized terms not otherwise defined have the
meanings given them in section 1.2 of this Plan. Any term used in this Plan that is not
defined herein, but is defined in the Bankruptcy Code or the Bankruptcy Rules, will have
the meaning given that term in the Bankruptcy Code or the Bankruptcy Rules.

      1.2    Definitions.

               1.2.1 “Administrative Claim” means a Claim for payment of an
administrative expense of a kind specified in section 503(b) of the Bankruptcy Code and
entitled to priority pursuant to section 507(a)(2) of the Bankruptcy Code, including, but
not limited to, the actual, necessary costs and expenses, incurred on or after the
Petition Date, of preserving the Estate and operating the business of Debtor, including
wages, salaries, commissions for services rendered after the Petition Date, Professional
Claims, taxes accruing after the Petition Date, whether or not the last payment date is
before or after the Confirmation Date, and all Allowed Claims that are entitled to be
treated as Administrative Claims pursuant to a Final Order of the Bankruptcy Court
under section 546(c) of the Bankruptcy Code, provided, however, that this term does
not include any portion of Allowed Secured Claims, whether or not all or part of Allowed
Secured Claim is entitled to priority under sections 503(b), 507, 363, or 364 of the
Bankruptcy Code or otherwise. This definition does not apply to or include U.S. Trustee
quarterly fees or any other amounts owed to the U.S. Trustee. Any references in this
Plan to the term “Administrative Claim” shall not apply to the U.S. Trustee.

              1.2.2 “Administrative Claims Bar Date” means the deadline for
requests for payment of Administrative Claims (or proofs of claims requesting
Administrative Claim status if permitted by Court order), which shall be 30 days after the
Effective Date, unless the Administrative Claim is of a kind that is subject to an earlier
Bar Date, in which case the earlier Bar Date shall control. Debtor shall not be required
to make any payments or distributions on account of Administrative Claims not properly
asserted before the Administrative Claims Bar Date unless such date is extended by
Order of the Court.

             1.2.3 “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

               1.2.4 “Allowed” means, when used in reference to a Claim or Interest
within a particular Class, an Allowed Claim or Allowed Interest of the type described in
the Class.

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              1.2.5 “Allowed Claim” means a Claim or any portion of the Claim,

                   a.       that has been Allowed by a Final Order of the Bankruptcy
Court (or such other court or forum with jurisdiction to adjudicate the Claim and
objections to it);

                      b.      as to which a Proof of Claim has been timely Filed with the
Bankruptcy Court pursuant to the Bankruptcy Code, but only to the extent that the Claim
is identified in the Proof of Claim in a liquidated and noncontingent amount, and either
(i) no objection to its allowance has been Filed within the periods of limitation fixed by
this Plan, the Bankruptcy Code, or by any order of the Bankruptcy Court, or (ii) any
objection as to its allowance has been settled or withdrawn or has been denied or
overruled by a Final Order;

                      c.    as to which no Proof of Claim has been Filed with the
Bankruptcy Court and (i) which is Scheduled as liquidated in an amount other than zero
and not contingent or disputed, but solely to the extent of the liquidated amount and (ii)
no objection to its allowance has been Filed by Debtor, within the periods of limitation
fixed by this Plan, the Bankruptcy Code, or by any order of the Bankruptcy Court; or

                    d.      that is expressly Allowed in a liquidated amount in this Plan.

             1.2.6 “Allowed Class . . . Claim” or “Allowed Class ... Interest” means
an Allowed Claim or an Allowed Interest in the specified Class.

             1.2.7 “Allowed Interest” means the ownership Interest in Debtor. No
other asserted Interests, if any, shall be Allowed Interests.

              1.2.8 “Ballot” means each of the ballot forms that is distributed with the
Plan to Holders of Claims and Interests included in Classes that are Impaired under this
Plan and entitled to vote under the terms of this Plan.

               1.2.9 “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as
amended and codified in title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
in effect on the Petition Date.

               1.2.10 “Bankruptcy Court” or “Court” means the United States
Bankruptcy Court for the Eastern District Michigan, or such other court that may have
jurisdiction over the Chapter 11 Case.

             1.2.11 “Bankruptcy Rules” means the Federal Rules of Bankruptcy
Procedure and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil
Procedure, as amended, as applicable to the Chapter 11 Case or proceedings in the
Chapter 11 Case, and the Local Rules of the Bankruptcy Court.

               1.2.12 “Bar Date” means the deadlines set, or to be set, by the
Bankruptcy Court for filing proofs of claim in the Chapter 11 Case or any other deadline
for the assertion of Claims, Administrative Claims or other rights to relief as set by Order
of the Bankruptcy Court (which may include the Confirmation Order), the Bankruptcy
Code, the Federal Rules of Bankruptcy Procedure or the Local Rules for the Bankruptcy
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Court for the Eastern District of Michigan.

              1.2.13 “Business Day” means any day, excluding Saturdays, Sundays,
and “legal holidays” (as defined in Bankruptcy Rule 9006(a)), on which commercial
banks are open for business in Detroit, Michigan.

              1.2.14 “Cash” means legal tender of the United States of America and
equivalents thereof.

               1.2.15 “Causes of Action” means any and all actions, proceedings,
causes of action, suits, accounts, demands, controversies, agreements, promises,
rights to legal remedies, rights to equitable remedies, rights to payment, and claims,
whether known, unknown, reduced to judgment, not reduced to judgment, liquidated,
unliquidated, fixed, contingent, non-contingent, matured, unmatured, disputed,
undisputed, secured, or unsecured, and whether asserted or assertable directly or
derivatively in law, equity, or otherwise, including Avoidance Actions, unless otherwise
waived or released by Debtor to the extent the Cause of Action is a Cause of Action
held by Debtor.

              1.2.16 “Chapter 11 Case”, “Case” or “Bankruptcy Case” means this
chapter 11 case number 22-40197, currently pending in the United States Bankruptcy
Court for the Eastern District of Michigan.

              1.2.17 “CHB” means Champion Home Builders, Inc., a creditor of Debtor.

              1.2.18 “Claim” means a claim against Debtor, whether or not asserted, as
defined in § 101(5) of the Bankruptcy Code.

             1.2.19 “Class” means a category of Holders of Claims or Interests as
described in Article III of this Plan.

              1.2.20 “Confirmation” means the entry of a Confirmation Order on the
docket of the Chapter 11 Case.

              1.2.21 “Confirmation Date” means the date of entry of the Confirmation
Order.

             1.2.22 “Confirmation Hearing” means the hearing before the Bankruptcy
Court held under section 1128 of the Bankruptcy Code to consider Confirmation of this
Plan and related matters, as may be adjourned or continued from time to time.

             1.2.23 “Confirmation Order” means the order entered by the Bankruptcy
Court confirming this Plan under section 1129 of the Bankruptcy Code.

              1.2.24 “Creditor” means any creditor of Debtor as defined in section
101(10) of the Bankruptcy Code.



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             1.2.25 “Cure Claims” means any amount required to be paid under
section 365(b)(1) in connection with the assumption of executory contracts or unexpired
leases.

            1.2.26 “Debtor” means Residents First, LLC and, after the Effective Date,
Reorganized Debtor.

               1.2.27 “Disallowed Claim” means (a) a Claim, or any portion thereof, that
has been disallowed by a Final Order or a settlement, (b) a Claim or any portion thereof
that is Scheduled at zero or as contingent, disputed, or unliquidated and as to which a
Bar Date has been established but no Proof of Claim has been timely Filed or deemed
timely Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any
Final Order of the Bankruptcy Court or otherwise deemed timely Filed under applicable
law, or (c) a Claim or any portion thereof that is not Scheduled and as to which a Bar
Date has been established but no Proof of Claim has been timely Filed or deemed
timely Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any
Final Order of the Bankruptcy Court or otherwise deemed timely Filed under applicable
law.

              1.2.28 “Disposable Income” has the meaning set forth in 11 U.S.C.
§ 1191(d).

              1.2.29 “Disputed Claim” or “Disputed Interest” means a Claim or any
portion thereof, or an Interest or any portion thereof, that is neither an Allowed Claim nor
a Disallowed Claim, nor an Allowed Interest nor a Disallowed Interest.

             1.2.30 “Effective Date” means the first day of the first month after the
Confirmation Order becomes a Final Order.

            1.2.31 “Entity” has the meaning set forth at section 101(15) of the
Bankruptcy Code.

              1.2.32 “Estate” means the bankruptcy estate of Debtor created pursuant
to section 541 of the Bankruptcy Code.

              1.2.33 “Exhibit” means any exhibit or schedule attached to this Plan
including any amendments and supplemental exhibits or schedules that may be filed
subsequent to filing of the Plan.

            1.2.34 “Expanded Powers Order” means the Court’s Order Granting
Subchapter V Trustee Expanded Powers [ECF # 50].

             1.2.35 “Founding Partners” means Founding Partners, LLC, an Affiliate
of Debtor and counter-party to the Property Management Agreement and the Support
Agreement.

            1.2.36 “File” means to file with the Bankruptcy Court in the Chapter 11
Case or such other court with jurisdiction over the relevant subject matter.
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              1.2.37 “Final Decree” means the decree contemplated under Bankruptcy
Rule 3022.

               1.2.38 “Final Order” means an order or judgment, the operation or effect
of which has not been reversed, stayed, modified, or amended, and as to which order or
judgment (or any reversal, stay, modification, or amendment thereof) (a) the time to
appeal, seek certiorari, or request reargument or further review or rehearing has expired
and no appeal, petition for certiorari, or request for reargument or further review or
rehearing has been timely Filed, or (b) any appeal that has been or may be taken or any
petition for certiorari or request for reargument or further review or rehearing that has
been or may be Filed has been resolved by the highest court to which the order or
judgment was appealed, from which certiorari was sought, or to which the request was
made, and no further appeal or petition for certiorari or request for reargument or further
review or rehearing has been or can be taken or granted.

              1.2.39 “FP Affiliates” means all Affiliates of Founding Partners.

               1.2.40 “General Unsecured Claim” means any Claim that is not
otherwise an Administrative Claim, Priority Tax Claim, or Priority Claim. General
Unsecured Claims include Claims of Creditors with contracts or unexpired leases that
are rejected by Debtor under this Plan or otherwise, and Creditors with Secured Claims
to the extent that the amount of the Claim exceeds the value of the collateral securing
the Claim, unless the Creditor makes a valid election under 11 U.S.C. § 1111(b)(2).

            1.2.41 “General Unsecured Creditor” means the Holder of any General
Unsecured Claim.

             1.2.42 “Governmental Unit” has the meaning set forth at section 101(27)
of the Bankruptcy Code.

              1.2.43 “Holder” means a Person holding a Claim, Interest, or Lien.

            1.2.44 “Impaired” refers to any Claim or Interest that is impaired within the
meaning of section 1124 of the Bankruptcy Code.

            1.2.45 “Insider(s)” has the meaning set forth at section 101(31) of the
Bankruptcy Code.

              1.2.46 “Insider Claim” means a Claim held by an Insider of Affiliate of
Debtor.

             1.2.47 “Interest” means the legal, equitable, contractual, and other rights
of any Person with respect to equity securities of, or ownership interests in Debtor.

               1.2.48 “Interest Rate” means the interest rate set forth in this Plan or, if no
specific rate of interest is set forth in this Plan with respect to a Claim which is entitled to
be paid with interest, shall mean (a) with respect to a Claim for taxes, the interest rate
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applicable under non-bankruptcy law, (b) with respect to the SBA Loan, the non-default
rate of interest under the terms of the SBA Loan, (c) for all other Claims entitled to
interest under the Bankruptcy Code and this Plan, five percent (5%), or (d) if the
foregoing Interest Rate is subject to any objection, such other interest rate as may be
determined by a Final Order of the Bankruptcy Court.

              1.2.49 “IRC” means the Internal Revenue Code of 1986, as amended.

              1.2.50 “IRS” means the Internal Revenue Service.

             1.2.51 “Liquidation Analysis” means the liquidation analysis required by
11 U.S.C. § 1190(1)(B) and attached as Exhibit B.

              1.2.52 “Notice” with respect to a notice to be provided to Debtor means a
written notice delivered to and actually received by Debtor and Debtor’s counsel at the
addresses set forth herein or such other address as is provided by Debtor or Debtor’s
counsel.

              1.2.53 “Person” means an individual, corporation, partnership, joint
venture, association, joint stock company, limited liability company, limited liability
partnership, trust, estate, unincorporated organization, Governmental Unit, or other
Entity.

                1.2.54 “Petition Date” means November 8, 2023, the date Debtor Filed its
petition for relief in the Bankruptcy Court.

              1.2.55 “Plan” means this subchapter V plan of reorganization for the
resolution of outstanding Claims and Interests in the Chapter 11 Case, including all
Exhibits, supplements, appendices, and schedules, either in its present form or as it
may be altered, amended, or modified in accordance with the Bankruptcy Code and
Bankruptcy Rules.

              1.2.56 “Plan Term” means a three-year period beginning on the date that
the first payment to General Unsecured Creditors is due under the Plan and ending on
the third anniversary of that date.

             1.2.57 “Priority Claim” means any Claim entitled to priority pursuant to
section 507(a) of the Bankruptcy Code.

             1.2.58 “Priority Tax Claim” means a Claim entitled to priority pursuant to
section 507(a)(8) of the Bankruptcy Code.

            1.2.59 “Projections” means the projections of Debtor’s revenues,
expenses, and income required by 11 U.S.C. § 1190(1)(C) and attached as Exhibit A.

            1.2.60 “Projected Disposable Income” means the expected Disposable
Income projected by Debtor as set forth in the Projections attached as Exhibit A.

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             1.2.61 “Proof of Claim” means a proof of Claim Filed against Debtor in
the Chapter 11 Case.

              1.2.62 “Professional” means any Person retained in the Chapter 11 Case
by Bankruptcy Court order pursuant to sections 327 and 1103 of the Bankruptcy Code
or otherwise.

              1.2.63 “Professional Claim” means an Administrative Claim of a
Professional for compensation for services rendered or reimbursement of costs,
expenses, or other charges and disbursements incurred relating to services rendered or
expenses incurred after the Petition Date and before and including the Effective Date.

              1.2.64 “Property Management Agreement” means the agreement
between Debtor and Founding Partners pursuant to which Debtor manages the
properties of certain subsidiaries of Founding Partners.

                1.2.65 “Pro Rata” means (a) with respect to Claims, at any time, the
proportion that the Face Amount of a Claim in a particular Class or Classes bears to the
aggregate Face Amount of all Claims (including Disputed Claims, but excluding
Disallowed Claims) in such Class or Classes, unless this Plan provides otherwise and
(b) with respect to Interests, at any time, the proportion that the number of Interests held
by an Interest Holder in a particular Class or Classes bears to the aggregate number of
all Interests (including Disputed Interests, but excluding Disallowed Interests) in such
Class or Classes.

              1.2.66 “Reorganized Debtor” means the Debtor after the Effective Date.

             1.2.67 “Related Parties” means all Affiliates and Insiders of Debtor, which
includes Founding Partners, the FP Affiliates, Mr. Darakjian and his relatives, and all
entities owned or controlled by Mr. Darakjian or his relatives.

             1.2.68 “Related Party Action” means any lawsuit or similar action
commenced against any of the Related Parties by Debtor or by any Person acting
through or on behalf of Debtor, including any derivative action.

                1.2.69 “Retained Actions” means all Claims, Causes of Action, rights of
action, suits, and proceedings, whether in law or in equity, whether known or unknown,
which Debtor or Debtor’s Estate may hold against any Person, other than Claims
explicitly released under this Plan or by Final Order of the Bankruptcy Court before the
Effective Date of this Plan. Retained actions include any and all actions to recover trade
claims, accounts receivable and similar ordinary course payments due to Debtor,
whether due, overdue or not yet due as of the date of Plan confirmation.

              1.2.70 “SBA” means the United States Small Business Administration.

            1.2.71 “SBA Loan” means the loan by the SBA to Debtor in the
approximate principal amount of $98,000, secured by substantially all Debtor’s assets.

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             1.2.72 “Scheduled” means, with respect to any Claim, the status, priority,
and amount, if any, of such Claim as set forth in the Schedules.

             1.2.73 “Schedules” means the schedules of assets and liabilities and the
statements of financial affairs Filed in the Chapter 11 Case by Debtor, as may be
amended from time to time.

               1.2.74 “Secured Claim” means a Claim secured by a security interest in
or a lien on property in which Debtor’s Estate has an interest or that is subject to setoff
under section 553 of the Bankruptcy Code, to the extent of the value, as of the Effective
Date or such other date as is established by the Bankruptcy Court, of such Claim
Holder’s interest in the applicable Estate’s interest in such property or to the extent of
the amount subject to setoff, as applicable, as determined by a Final Order of the
Bankruptcy Court pursuant to section 506(a) of the Bankruptcy Code or, in the case of
setoff, pursuant to section 553 of the Bankruptcy Code, or as otherwise agreed upon in
writing by Debtor and the Holder of such Claim.

                1.2.75 “Secured Creditor” means the Holder of an Allowed Secured
Claim.

            1.2.76 “Subchapter V Trustee” means Deborah Fish, the Court-appointed
Subchapter V Trustee for this Chapter 11 Case.

              1.2.77 “Support Agreement” means the revisions to the Property
Management Agreement through which Founding Partners has agreed to support
Debtor’s reorganization and ensure Debtor achieves its Projected Disposable Income,
but subject to the Property Management Agreement not be terminated for Cause (as
defined in the Property Management Agreement, and revised in the Support
Agreement).

                1.2.78 “Unimpaired” means, with respect to a Claim, any Claim that is
not Impaired.

              1.2.79 “Voting Deadline” means March 11, 2024, or any subsequent
deadline that the Bankruptcy Court may set for the receipt of Ballots by Debtor or
Debtor’s agent.

       1.3   Rules Of Interpretation: For purposes of this Plan, unless otherwise
provided herein:

               1.3.1 Whenever from the context it is appropriate, each term, whether
stated in the singular or the plural, include, both the singular and the plural.

             1.3.2 Each pronoun stated in the masculine, feminine, or neuter includes
the masculine, feminine, and neuter.

               1.3.3 Any reference in this Plan to an existing document or schedule
Filed or to be Filed means the document or schedule, as it may have been or may be
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amended, modified, or supplemented. Except as otherwise ordered by the Bankruptcy
Court, all Exhibits, as amended, modified or supplemented, are incorporated by
reference into this Plan for all purposes.

               1.3.4 Any reference to an Entity or Person as a Holder of a Claim or
Interest includes that Entity’s or Person’s successors and assigns. Any reference to
Debtor includes the Reorganized Debtor for all periods after the Effective Date.

              1.3.5 Any reference in the Plan to a contract, instrument, release,
indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that the document shall be substantially on such terms and
conditions.

                1.3.6 The words “herein,” “hereunder,” and “hereto” refer to this Plan in
its entirety rather than to a particular portion of this Plan.

               1.3.7 Subject to the provisions of any contract, certificates of
incorporation, by-laws, instruments, releases, or other agreements or documents
entered into in connection with this Plan, the rights and obligations arising under this
Plan will be governed by, and construed and enforced in accordance with, federal law,
including the Bankruptcy Code and Bankruptcy Rules. To the extent that reference to
state law is required, the Plan is governed by the substantive law of Michigan.

      1.4     Computation of Time. In computing any period of time prescribed or
allowed by this Plan, unless otherwise expressly provided, the provisions of Bankruptcy
Rule 9006 apply. Whenever any action is required to be performed or deadline expires
on a specific date, if the date falls on a Saturday, Sunday, or legal holiday (as defined in
Bankruptcy Rule 9006), the action may be performed, or the deadline will expire, on the
next day that is not a Saturday, Sunday, or legal holiday.

       1.5     References to Monetary Figures. All references in this Plan to monetary
figures refer to currency of the United States of America.

         1.6   Exhibits. All Exhibits, including any Exhibits referenced in this Plan, are
incorporated into and are a part of this Plan as if set forth in full herein and, to the extent
not attached to this Plan, the Exhibits shall be filed with the Bankruptcy Court. Upon its
filing, the Exhibit may be inspected in the office of the clerk of the Bankruptcy Court or
its designee during normal business hours or at the Bankruptcy Court’s website for a
fee at https://ecf.mieb.uscourts.gov. The Exhibits may also be requested in writing from
Debtor’s counsel. All Exhibits may be revised before the Confirmation Date by the
filing of the revised Exhibits with the Bankruptcy Court, so long as the revised
Exhibits are substantially in conformance with the terms of this Plan. The Exhibits
are an integral part of the Plan, and entry of the Confirmation Order by the Bankruptcy
Court will constitute an approval of the Exhibits.

       1.7   No Admissions; Estimates of Claims. Unless expressly stated
otherwise, nothing herein will be deemed to be an admission by Debtor or to otherwise
prejudice Debtor in any Claims objection or Cause of Action. All estimates of Causes of

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Action and Claim amounts listed in this Plan and Exhibits are current estimates only. All
Claims amounts and classifications remain subject to the Claims Objection process.

                              ARTICLE II
                 CLAIMANTS THAT ARE NOT SUBJECT TO
       CLASSIFICATION AND ARE NOT ENTITLED TO VOTE ON THE PLAN
            ADMINISTRATIVE EXPENSES AND PRIORITY CLAIMS

       2.1 Administrative Claims.

              Subject to the provisions of this Plan and upon occurrence of the Effective
Date, as soon as possible after an Administrative Claim becomes an Allowed
Administrative Claim or the date when an Administrative Claim becomes payable
pursuant to any agreement between Debtor and the Holder of the Administrative Claim
(but, in no event later than ten days thereafter), a Holder of an Allowed Administrative
Claim shall receive, in full satisfaction, settlement, release, and discharge of, and in
exchange for, such Allowed Administrative Claim, Cash equal to the unpaid portion of
such Allowed Administrative Claim or such other treatment that Debtor and the Holder
of the Allowed Administrative Claim shall have agreed upon in writing.

              Debtor anticipates administrative claims will be owed to its counsel, the
Subchapter V Trustee, to other professionals that may be retained in this case, and to
vehicle lessors for post-petition lease expenses and for assuming Debtor’s lease
agreements, in addition to ordinary course costs and expenses incurred by Debtor in
operating its business since the Petition Date. The total of the administrative claims is
heavily dependent on the length of time between the filing of this Plan and confirmation,
whether objections to confirmation are filed, and the proceedings required to resolve
any such objections.

       2.2 Priority Tax Claims.

                2.2.1 Debtor does not believe that it owes any tax liabilities. Neither the
IRS nor the Michigan Department of Treasury have filed any Priority Tax Claims as of
the date the Plan is filed, and Debtor does not anticipate any Priority Tax Claims will be
filed. However, the claim deadline has not yet passed. The Holder of an Allowed Priority
Tax Claim shall be entitled to receive, on account of its Allowed Priority Tax Claim, in
full satisfaction, settlement, release, and discharge of, and in exchange for, such
Allowed Priority Tax Claim, payment of the outstanding amount of the Allowed Priority
Tax Claim in equal monthly installments commencing on the date that is 60 days after
the Effective Date, with interest accruing at the Interest Rate, calculated so that the last
monthly payment will occur on or before the third anniversary of the Effective Date. In
any event, Debtor shall pay all remaining amounts owed, if any, by no later than the fifth
anniversary of the Petition Date. Debtor may pre-pay any Priority Tax Claim. For the
avoidance of doubt, all taxes of the type entitled to priority under 11 U.S.C. section
507(a) that have been assessed prior to the Petition Date are subject to this section 2.2.

               2.2.2 Debtor reserves the right to commence or continue a challenge as to
any Priority Tax Claim through the claims objection process set forth in Article XII of this
Plan or through any appropriate adjudicative body with necessary jurisdiction, which
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challenge may include, but need not be limited to, a challenge to any penalty portion of
such Claim, the amount and the value of the property which forms the basis for any
assessment of taxes and the computation of the tax. The right to challenge these claims
includes, without limitation, an objection to any assessment of Debtor’s real or personal
property that may have been made by the respective taxing authority.

      2.3 Professional Claims.

              2.3.1 Final Fee Applications. All final requests for payment of
Professional Claims must be Filed within thirty (30) days after the Confirmation Date, or
by such later date as set by the Court. After notice and a hearing in accordance with the
procedures established by the Bankruptcy Code, the Bankruptcy Rules and prior orders
of the Bankruptcy Court, the Allowed amounts of such Professional Claims and
expenses will be determined by the Bankruptcy Court and paid by Debtor promptly after
they are Allowed as set forth in Section 2.1 (in no event more than seven days after
entry of the Order Allowing the Professional Claims), or as otherwise agreed in writing
by Debtor and the Professional for reasonable payment terms.

              2.3.2 Post-Confirmation Date Retention. Upon the Confirmation Date,
any requirement that Professionals comply with sections 327 through 331 of the
Bankruptcy Code in seeking retention or compensation for services rendered after such
date or to make any disclosures pursuant to Bankruptcy Rules 2014 and 2016 will
terminate, and Debtor and Reorganized Debtor shall employ and pay Professionals in
the ordinary course of business.

       2.4    Pre-petition Administrative Claims. All Administrative Claims incurred
before the Petition Date, including (but not limited to) Administrative Claims arising
under 11 U.S.C. § 503(b)(9), if any, must be Filed as a Motion or Application by the
Holder of such Claims by any applicable Bar Date as set by the Federal Rules of
Bankruptcy Procedures, the Bankruptcy Court’s Local Rules, or by Order of the
Bankruptcy Court in this Chapter 11 Case. If any Administrative Claim has not been
Filed by the Applicable Bar Date, the Administrative Claim shall be disallowed without
the need for Debtor to file any objection to the Administrative Claim. If no Bar Date has
been set by the Court, the Bar Date shall be thirty (30) days after the Confirmation Date.
This section does not apply to pre-petition Administrative Claims that become
Administrative Claims through assumption of a pre-petition contract or agreement,
which will be treated under Article X below regarding assumptions of leases and
contracts.

                                      ARTICLE III
   SPECIFICATION OF TREATMENT OF CLASSES OF CLAIMS OR INTERESTS
   NOT IMPAIRED UNDER THE PLAN AND THOSE IMPAIRED UNDER THE PLAN

       The Plan divides Claims and Interests into three (3) Classes and treats them as
follows:

       3.1         Class I:    Class I consists of the SBA’s Secured Claim for the
SBA Loan and Ally Bank’s Secured Claim for the financing of a Dodge Ram Truck (the
“Ally Loan”).

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              3.1.1 Debtor shall make all required monthly payments under the non-
default terms of the SBA Loan and Ally Loan throughout the Plan Term.

               3.1.2 All the terms and provisions of the SBA Loan and Ally Loan shall
remain in full force and effect, except that neither the filing of the Petition nor anything
between the filing of the Petition and the Effective Date shall be deemed a default under
the SBA Loan or Ally Loan provided that Debtor cures any deficiencies within twenty-
one (21) days after written notice by the SBA or Ally Bank, respectively.

              3.1.3 The SBA Loan and Ally Loan shall continue to accrue interest at the
non-default rates set forth in the respective loan documents.

               3.1.4 Subject to the terms of this Section 3.1, the SBA and Ally Bank
shall retain all rights and remedies as set forth in the SBA Loan and Ally Loan,
respectively.

               3.1.5 Until payment in full of the SBA Loan, the SBA shall retain all
security interests and liens on the property of the Debtor and Reorganized Debtor,
including all replacement liens granted in the Final Order Authorizing Use of Cash
Collateral and Authorizing Adequate Protection [ECF # 44].

               3.1.6 Until payment in full of the Ally Loan, Ally Bank shall retain all
security interests and liens on the property of the Debtor and Reorganized Debtor,
including the financed Dodge Ram Truck.

               3.1.7 The SBA and Ally Bank security interests and liens shall maintain
the same priority, validity, and enforceability as existed immediately before the Petition
Date. In the event of any default after the Effective Date, not cured as provided for
under the terms of the SBA Loan or Ally Loan, the SBA or Ally may exercise any and all
secured rights against property subject to its security interest and liens to obtain
satisfaction of its Allowed Class I Claim.

              3.1.8 Notwithstanding the above, if Founding Partners terminates the
Property Management Agreement for cause, the Debtor will commence liquidation.
Upon liquidation, the Debtor shall (i) at Ally Bank’s option, promptly surrender the
Dodge Ram Truck securing the Ally Loan to Ally Bank, or shall sell the Dodge Ram
Truck and provide the net proceeds to Ally Bank, and (ii) at the SBA’s option, promptly
surrender to the SBA all Debtor’s property that constitutes collateral for the SBA Loan
and as to which the SBA is the first-priority Secured Creditor or shall sell and otherwise
liquidate such collateral and provide the net proceeds to the SBA. To the extent the
proceeds are less than the amount of the respective Secured Claims, the difference
shall be treated as a Class II General Unsecured Claim.

              3.1.9 This Class is Unimpaired.

        3.2    Class II consists of all Allowed General Unsecured Claims. Allowed
Claims resulting from the rejection of any contracts or unexpired leases as set forth in
Article X shall be included as Class II General Unsecured Claims. The deadline for the
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filing of claims has not passed and, accordingly, the final claim amount may differ
substantially from Debtor’s estimate.

               3.2.1 Holders of Allowed Class II Claims shall receive a Pro Rata share
of the Projected Disposable Income based on all Class II Allowed Unsecured Claims.
Starting one month after the Effective Date annually thereafter for a three-year
distribution period (with three distributions), the Reorganized Debtor shall distribute all
of its Projected Disposable Income to Class II Creditors (each an “Annual Distribution”).
The Annual Distributions shall continue until the earlier of (i) payment of all Class I
Claims in full or (ii) three years have passed since the initial distribution, for a maximum
of three Annual Distributions. All Annual Distributions shall be distributed to Holders of
Allowed Unsecured Claims on a Pro Rata basis.

               3.2.2 The Debtor’s Projected Disposable Income is set forth in Exhibit A
equating to three Annual Distributions of $15,000 each, for total distributions to Class II
Creditors in the total amount of $45,000.

                3.2.3 Notwithstanding the above, if Founding Partners terminates the
Property Management Agreement for cause, the Debtor will commence liquidation.
Upon liquidation, as shown in the liquidation analysis, Debtor anticipates there will be no
distributions to General Unsecured Creditors. In the event that the liquidation of assets
is sufficient to pay all Secured Claims, Administrative Claims and Priority Claims, Debtor
shall distribute all remaining proceeds, pro rata, to General Unsecured Creditors until all
Class II Claims have been satisfied in full.

               3.2.4 In the event that Debtor, the Subchapter V Trustee or any other
Person commences a Related Party Action, the proceeds of such Related Party Action,
shall be paid first on account of all Administrative Claims and Priority Claims, as well as
payment to any Secured Creditor to the extent such Secured Creditor has a valid
security interest or lien on the proceeds of the Related Party Action. After all such
Claims have been satisfied in full, the remaining proceeds, if any, shall be distributed
pro rata to General Unsecured Creditors until all Class II Claims have been satisfied in
full.

              3.2.5 Notwithstanding anything to the contrary in this Section or any other
Section of this Plan, no Class II Claim Holder is entitled under any circumstances to
receive more than the Allowed Amount of the Holder’s Allowed Claim. No Class II
Claims shall bear interest in any amount.

              3.2.6 If the Plan is not confirmed, Debtor estimates that Class II General
Unsecured Creditors will receive no distributions as substantially all Debtor’s assets are
subject to the Secured Claims of the SBA and the proceeds of a liquidation, even
assuming successful prosecution of Related Party Claims, is unlikely to exceed the
amount of the SBA Loan plus all Administrative Claims.

              3.2.7 This Class is Impaired.

       3.1 Class III: This Class consists of the Claims of Interests of Debtor.
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               3.1.1 The Holders of Allowed Interests of this Class will retain their
Interests in the Reorganized Debtor in the same percentages as held in Debtor.

              3.1.2 This Class will not be Impaired and are deemed to accept the
Plan.

                                 ARTICLE IV
                 EXECUTION AND IMPLEMENTATION OF THE PLAN

       4.1    Upon the Effective Date, Debtor will become the Reorganized Debtor. The
Reorganized Debtor shall continue operating Debtor’s business, shall collect all
revenues and income, and shall distribute such revenues and income as provided under
the terms of this Plan. During the Payment Period, the Reorganized Debtor shall retain
Mr. Darakjian as its Manager. The Reorganized Debtor may retain or hire other
employees at commercially reasonable rates of compensation.

       4.2     Retention of Causes of Action: All Causes of Action not waived or
released under this Plan, the Confirmation Order or any other Order issued by the Court
shall vest with Reorganized Debtor, including all collections of receivables, refunds,
deposits and all other amounts owed to Debtor, whether arising before or after the
Petition Date.

        4.3   Assumption of Liability and Sources of Funds:

             4.3.1 Reorganized Debtor shall be responsible for satisfying the Allowed
Class I Claims in accordance with the terms and provisions of this Plan.

               4.3.2 The Reorganized Debtor will retain control of and be responsible for
all of Debtor’s operations after the Effective Date.

              4.3.3 Debtor reasonably believes that future operations and the Support
Agreement will enable the Reorganized Debtor to satisfy its obligations under the Plan.
Other sources of cash may be explored and utilized by the Reorganized Debtor to the
extent that such infusions are necessary or helpful to meet the obligations of the Plan,
including post-confirmation loans or equity contributions.

                4.3.4 Upon the earlier of the end of the Plan Term or satisfaction of all
obligations to all Claim Holders, the Reorganized Debtor will no longer be bound by the
provisions of this Plan and will be entitled to conduct its business without Bankruptcy Court
supervision under applicable non-bankruptcy law. Nothing in this Section shall be
construed as waiving or limiting the Reorganized Debtor’s rights and interests under this
Plan, to enforce those rights and interests through the Bankruptcy Court, to dispute claims,
to bring motions or pursue Causes of Action in the Bankruptcy Court or any other court, or
to petition the Bankruptcy Court for the redress of any grievances.

      4.4    Professional Fees: Any services performed or expenses incurred by
any Professional on behalf of Debtor after the Petition Date but before the Confirmation
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Date will be Administrative Claims, will be paid by Reorganized Debtor as set forth in
Article II and will be subject to the prior review and approval of the Bankruptcy Court.
Any services performed or expenses incurred by any Professional on behalf of the
Reorganized Debtor with respect to the Chapter 11 Case after the Confirmation Date
will be an obligation of the Reorganized Debtor and will not be subject to the prior
review and approval of the Bankruptcy Court. Notwithstanding any provision of the
Bankruptcy Code or Rules, including, without limitation, Bankruptcy Rule 2016, after the
Confirmation Date, no Professional will be required to disclose payments from
Reorganized Debtor to the Bankruptcy Court or the United States Trustee. All fees and
expenses of Reorganized Debtor shall be billed directly Reorganized Debtor, and the
Bankruptcy Court shall review only that portion to which Reorganized Debtor objects.
Reorganized Debtor must pay the portion not objected to in accordance with the terms
of the invoice.

       4.5      Effectuating Documents: Reorganized Debtor is authorized to execute,
deliver, file, or record such financing statements, contracts, instruments, releases, and
other agreements or documents, and to take such actions as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of this Plan
without further notice to or order, action or approval of the Bankruptcy Court.

       4.6    Authorization of the Support Agreement: Confirmation of the Plan
constitutes authorization of the Support Agreement and all terms set forth therein.

                                 ARTICLE V
                EFFECT OF THE PLAN ON CLAIMS AND INTERESTS

      5.1    Discharge of Indebtedness:

               5.1.1 Discharge under § 1191(a). In the event this Plan is confirmed
under section § 1191(a), except as otherwise explicitly provided in the Plan or the
Confirmation Order, the rights afforded under the Plan and the treatment of Claims
under the Plan shall be in exchange for and in complete satisfaction, discharge, and
release of all Claims. Except as otherwise provided in the Plan or the Confirmation
Order, Confirmation shall, as of the Effective Date, discharge the Debtor from all
Claims or other debts that arose before the Effective Date, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, and all debts of the kind
specified in sections 502(g), 502(h), or 502(i), in each case whether or not a Proof of
Claim is filed or deemed filed pursuant to section 501.

              5.1.2 Discharge under § 1192(b). In the event this Plan is confirmed
under section § 1191(b) of the Bankruptcy Code, as soon as practicable after
completion of the Reorganized Debtor’s Payments due during the duration of the Plan,
the Court shall grant the Debtor and Reorganized Debtor a discharge of all debts
provided in section 1141(d)(1)(A) and allowed under section 503 (the “Discharge
Order”). Notwithstanding the forgoing, the court shall not grant the Debtor or the
Reorganized Debtor a discharge of any debt to the extent section 523(a) is applicable to
a corporate debtor (which Debtor may contest), a debt of the kind specified in section
523(a). As set forth in the Support Agreement, if the Plan is confirmed under § 1191(b),
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the Related Parties shall retain all claims they may have against the Debtor, whether or
not filed as proofs of claim in the Case, and may be used as set offs or recoupment
against any Related Party Claims brought by the Debtor or on behalf of Debtor or
Debtor’s estate.

                 5.1.3 1191(c)(3)(B) Provision. For the purposes of 11 U.S.C.
§ 1191(c)(3)(B) and in the event that payments to any creditor are not made as provided
in Article III of the Plan to such creditor, then the creditor may make a written demand
(the “Demand Notice”) to the Reorganized Debtor, with copies to Debtor’s counsel and
the Subchapter V Trustee, which, at a minimum, must clearly and expressly identify the
payments that the Creditor claims were not made. The Reorganized Debtor shall have
sixty (60) days from the date the Demand Notice is received by the Reorganized Debtor
to (a) cure the payment default or (b) make other mutually agreeable arrangements with
the Creditor to resolve the identified payment default. If the payment default identified in
the Demand Notice is not cured or not otherwise resolved as provided under the
previous sentence, then the affected Creditor may reopen the Subchapter V Case and
seek appropriate remedies provided under the Bankruptcy Code; provided, however,
that if the Reorganized Debtor cures such the payment default identified in the Demand
Notice prior to the Bankruptcy Court entering an order authorizing any relief, the
identified payment default shall be deemed cured and the Subchapter V Case shall be
immediately closed.

          5.2    Injunction. Except as provided in the Plan or the Confirmation Order, as
of the Confirmation Date, all individuals and entities that have held, currently hold, or
may hold Claims or Interests against Debtor, or that are claiming by or through any such
individual or entity, are permanently enjoined from taking any of the following actions
against Reorganized Debtor or its property on account of any such Claims, debts,
liabilities, or terminated Interests or rights: (i) commencing or continuing, in any manner
or in any place, any action or other proceeding; (ii) enforcing, attaching, collecting or
recovering in any manner any judgment, award, decree, or order; (iii) creating,
perfecting, or enforcing any Lien or encumbrance; and (iv) commencing or continuing
any action in any manner, in any place that does not comply, or is inconsistent, with the
provisions of this Plan.

         5.3    Subchapter V Trustee. The Subchapter V Trustee shall continue to
exercise those powers and perform those duties specified in the Bankruptcy Code until
the services of the Subchapter V Trustee are terminated as set forth in this section.
Termination of the services of the Subchapter V Trustee shall occur upon the earlier of
(i) all payments required by the Plan have been made by Reorganized Debtor, or (ii) the
Subchapter V Trustee deems that his statutory obligations have been fulfilled and
provides notice of such to Reorganized Debtor. Until termination of the services of the
Subchapter V Trustee, Reorganized Debtor shall remain responsible for payment of the
reasonable fees of the Subchapter V Trustee, and the Bankruptcy Court shall retain
jurisdiction to determine any dispute regarding reasonableness of such fees or the date
of termination of the Subchapter V Trustee’s services. The Subchapter V Trustee’s
services will otherwise be terminated in accordance with 11 USC § 1183(c).



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       5.4    Related Party Actions. If the Plan is not confirmed under § 1191(a), the
Subchapter V Trustee or any other party-in-interest may request that the Court
authorize the Subchapter V Trustee or another Person to be appointed by the Court to
review potential Related Party Actions and bring such Related Party Actions if such
Person deems that to be appropriate in the totality of the circumstances.

                                  ARTICLE VI
                      PROVISIONS GOVERNING DISTRIBUTION

      6.1   No Interest on Unsecured Claims. Interest will not accrue or be paid on
any General Unsecured Claim.

       6.2     Delivery Of Distributions and Notices in General. Distributions to Holders
of Allowed Class I Claims and Professional Claims will be made by Reorganized Debtor
unless otherwise instructed by the Court or the Subchapter V Trustee if this Plan is
confirmed under 11 U.S.C. § 1191(b). All distributions will be made, as applicable: (a) if
a Proof of Claim has been filed: at the addresses set forth on the Proofs of Claim Filed
by the Holders of Claims or Interests; (b) if the Holder has provided any written notices
of address changes delivered to Debtor: at such address; (c) if no Proof of Claim has
been filed and no notice of address change has been received: at the addresses
reflected in the Schedules or the last known address; or (d) if any counsel has appeared
in the Chapter 11 Case on the Holder’s behalf, at the address of such counsel.

        6.3    Undeliverable Distributions and Non-Negotiated Checks. If any distribution
to a Holder of a Claim or Interest is returned as undeliverable, no further distributions to
such Holder of such Claim or Interest will be made unless and until Reorganized Debtor
or Subchapter V Trustee (as applicable) is notified of the then-current address of such
Holder of the Claim, at which time all missed distributions will be made to the Holder of
the Claim without interest. If checks issued by the Reorganized Debtor on account of
Claims are not negotiated within ninety days after the issuance of the check, the check
may be null and void. Amounts in respect to undeliverable distributions and non-
negotiated checks will be held by the Reorganized Debtor until the earlier of (i) such
distributions are claimed by the valid Holder of the Claim or (ii) ninety days after the
check is returned or voided due to non-negotiation, after which date all such
undistributed and non-negotiated amounts will revert to the Reorganized Debtor free of
any restrictions and the Claim of any Holder or successor to such Holder with respect to
the distribution will be deemed discharged and forever barred, notwithstanding federal
or state escheat laws to the contrary. The language in this section will not apply to the
U.S. Trustee.

       6.4     Fractional Payments and Minimum Payments. Notwithstanding any other
provision of the Plan to the contrary, payments of fractions of dollars are not required.
Payment of fractions of dollars that would otherwise be distributed under the Plan will be
rounded to the lower whole number of dollars. The Reorganized Debtor or Subchapter
V Trustee shall not be required to make any distributions to creditors in an amount less
than $50.



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       6.5    If the date for any payment or action required of Debtor or Reorganized
Debtor under this Confirmation Order or the Plan falls on a date which is not a Business
Day, the due date for such payment or action shall automatically be extended to the
next occurring Business Day.

                                    ARTICLE VII
                             MODIFICATION OF THE PLAN

        7.1    Modification of Plan. Debtor may, from time to time, propose
amendments or modifications to this Plan prior to the Confirmation Date, without leave
of the Bankruptcy Court. Subject to certain restrictions and requirements set forth in the
Bankruptcy Code and Bankruptcy Rules, Debtor expressly reserves its rights to revoke
or withdraw, or to alter, amend or materially modify the Plan, one or more times before
the Confirmation Date. After the Confirmation Date, Debtor or Reorganized Debtor may,
with leave of the Bankruptcy Court and upon notice and opportunity for hearing to the
affected Creditor(s), remedy any defect or omission, reconcile any inconsistencies in the
Plan or in the Confirmation Order, or otherwise modify the Plan. Any amendments to
this Plan will otherwise be in accordance with 11 USC Sec. 1193.

       7.2    Effect of Confirmation on Modifications. Entry of a Confirmation Order
shall mean that all modifications or amendments to the Plan since the solicitation of the
Plan are approved pursuant to section 1127(a) of the Bankruptcy Code and do not
require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

          7.3    Revocation or Withdrawal of the Plan. Debtor reserves the right to
revoke or withdraw the Plan prior to the Confirmation Date and to File subsequent
chapter 11 plans. If Debtor revokes or withdraws the Plan, then: (1) the Plan will be null
and void in all respects; (2) any settlement or compromise embodied in the Plan
(including the fixing or limiting to an amount certain of any Claim or Interest or Class of
Claims or Interests), assumption, assignment, or rejection of executory contracts or
unexpired leases effected by the Plan, and any document or agreement executed
pursuant to the Plan, will be deemed null and void; and (3) nothing contained in the Plan
will: (i) constitute a waiver or release of any Claims, Interests, or Causes of Action; (ii)
prejudice in any manner the right of Debtor or any other Person; or (iii) constitute an
admission, acknowledgement, offer, or undertaking of any sort by Debtor or any other
Person.

                                    ARTICLE VIII
                            JURISDICTION OF THE COURT

                8.1     Jurisdiction. Notwithstanding the entry of the Confirmation Order
and the occurrence of the Effective Date, the Bankruptcy Court shall retain exclusive
jurisdiction over all matters arising out of, or related to, the Chapter 11 Case and the
Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including without
limitation, jurisdiction with respect to:

              8.1.1 The classification of the Claim of any Creditor and the re-examination
of Claims Allowed for purposes of voting, and the determination of such objections as may
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be filed to Claims of Creditors. The failure by Debtor to object to, or to examine any Claim
for the purposes of voting, will not be deemed to be a waiver of any right to object to, or
reexamine the Claim, in whole or in part. Furthermore, the fact that this Plan has provided
a treatment for the benefit of a particular Creditor will not in any way be deemed to be a
waiver of any right to object to or re-examine the Claim or any secured interest whether by
mortgage or otherwise which secures such Claim, in whole or in part.

               8.1.2 The determination of all questions and disputes regarding title to the
assets of the estate, and all causes of action, controversies, disputes, or conflicts, whether
or not subject to action pending as of the Confirmation Date, between Debtor and any
other party.

               8.1.3 The correction of any defect, the curing of any omission or the
reconciliation of any inconsistency in this Plan or the Confirmation Order as may be
necessary to carry out the purposes and intent of this Plan.

             8.1.4 The enforcement and interpretation of the terms and conditions of this
Plan and the entry of orders in aid of confirmation of this Plan.

                 8.1.5 The entry of any order, including injunctions, necessary to enforce the
title, rights, and powers of Debtor, Reorganized Debtor or any party-in-interest, and to
impose such limitations, restrictions, terms and conditions of such title, rights and powers
as this Court may deem necessary.

               8.1.6 The review and approval of all Professional Fee applications for
services rendered before the Confirmation Date and the review of any Professional Fees
for services rendered in connection with the Plan after the Confirmation Date to the extent
that Debtor disputes all or a portion thereof.

              8.1.7 The entry of an order determining the validity of any Lien.

              8.1.8 The entry of an order concluding and terminating this Case.

                                      ARTICLE IX
                                  TITLE TO PROPERTY

        9.1. Revesting of Assets. Except as otherwise explicitly provided for in this
Plan, on the Effective Date, all property held by the Estate (including all Causes of
Action) will vest in the Reorganized Debtor free and clear of all Claims, Liens, charges,
encumbrances, right, and Interests of Creditors and equity security Holders. As of and
following the Effective Date, the Reorganized Debtor, as provided for under the terms of
this Plan, may operate Debtor’s business and use, acquire, and dispose of property and
settle and compromise Claims or Interests without the supervision of the Bankruptcy
Court, free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than
those restrictions expressly imposed by this Plan and the Confirmation Order. All
Avoidance Actions not waived or released under this Plan or other Order of the
Bankruptcy Court shall vest with Reorganized Debtor and Reorganized Debtor may
pursue, settle and compromise any or all Avoidance Actions subject to notice and a
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hearing. Notice of any compromise need be provided only to those parties that have
requested notice in the Bankruptcy Case. The following is added to the end of Section
9.1: If this case is converted to a Chapter 7, all property vested in the Debtor and
acquired post-confirmation will re-vest in the Debtor and become property of the
Chapter 7 estate.

                                      ARTICLE X
                                EXECUTORY CONTRACTS

       10.1 Assumption of Executory Contracts and Unexpired Leases. All
executory contracts and unexpired leases of Debtor shall be deemed assumed unless
subject to a motion to reject filed on or before the Confirmation Date. For all contracts and
unexpired leases assumed under this Section, Debtor shall pay all amounts owed under
the contract or unexpired lease within thirty days after the Confirmation Date, except as set
forth below.

                                     ARTICLE XII
                                OBJECTIONS TO CLAIMS

       11.1. Timing of Objections: Reorganized Debtor may object to the allowance of
any Claim, whether listed on the Schedules filed by Debtor, or filed by any Creditor, on or
before the later of (a) sixty days from the date of filing of any Proof of Claim or (b) three
months after the Effective Date.

       11.2 Objections to Liens: Reorganized Debtor may object to any Lien or
security interest within the time period set forth in Section 11.1 or after any attempt by a
Creditor to enforce the Lien.

       12.3 Claims Bar Date: Except as provided herein or otherwise agreed in
writing by Reorganized Debtor, any and all Proofs of Claim filed after the applicable Bar
Date shall be deemed disallowed and expunged as of the Effective Date (or, for a
Claims Bar Date after the Effective Date, as of the applicable Claims Bar Date) without
any further notice to or action, order, or approval of the Bankruptcy Court, and Holders
of such Claims may not receive any distributions on account of such Claims, unless on
or before the Confirmation Date such late Claim has been held timely Filed by a Final
Order.

        12.4 Allowance of Clams – No Preclusion: The allowance of any Claim,
either after the Filing of an objection or as a result of no objection having been Filed,
shall in no event create any estoppel argument against Reorganized Debtor or any
other party, whether or not affiliated with Reorganized Debtor. This provision shall be
given a broad interpretation and shall, without limitation, prohibit the use of any
argument of res judicata, collateral estoppel, claim preclusion, issue preclusion, or
judicial estoppel in the event of any current or future litigation between Reorganized
Debtor, an Affiliate or Insider of Reorganized Debtor, or any other Person with the Clam
Holder as a result of allowance of a Claim or the absence or resolution of any objection,
with the sole exception that the allowance of the Claim sets the amount of the Claim as

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against the Reorganized Debtor for purposes of this Plan and distributions under this
Plan.

                                   ARTICLE XIII
                            MISCELLANEOUS PROVISIONS

       13.1 Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e),
6004(g), or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of
the Plan shall be immediately effective and enforceable and deemed binding upon
Debtor, Reorganized Debtor and any and all Holders of Claims and Interests
(irrespective of whether any such Holders of Claims or Interests failed to vote to accept
or reject the Plan, voted to accept or reject the Plan, or is deemed to accept or reject the
Plan), and all Persons that are parties to or are subject to the settlements,
compromises, releases, discharges, and injunctions described in the Plan.

        13.2 Additional Documents. On or before the Effective Date, Debtor may File
with the Bankruptcy Court such agreements and other documents as may be necessary
or appropriate to effectuate and further evidence the terms and conditions of the Plan.
Debtor, Reorganized Debtor and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time,
prepare, execute, and deliver any agreements or documents and take any other actions
as may be necessary or advisable to effectuate the provisions and intent of the Plan.

       13.3 Reservation of Rights. Except as expressly set forth in the Plan, the Plan
will have no force or effect unless the Bankruptcy Court enters the Confirmation Order.
None of the Filing of the Plan, any statement or provision contained in the Plan, or the
taking of any action by Debtor with respect to the Plan shall be, or shall be deemed to
be, an admission or waiver of any rights of Debtor with respect to the Holders of Claims
or Interests before the Effective Date.

       13.4 Successors and Assigns. The rights, benefits, and obligations of any
Person named or referred to in the Plan will be binding on, and will inure to the benefit
of, any heir, executor, administrator, successor or assign, affiliate, officer, director,
agent, representative, attorney, beneficiary, or guardian, if any, of such Person.

       13.5 Service of Documents. After the Effective Date, any pleading, Notice, or
other document required by the Plan to be served on or delivered to Debtor or
Reorganized Debtor must be sent by overnight mail, postage prepaid to Debtor’s
counsel at the address set forth on the first page of this Plan and to:

                                   Residents First, LLC
                                     c/o Ara Darakjian
                                   217 Pierce, Ste. 209
                                  Birmingham, MI 48009

               Notice to Holders of Claims may be made to the addresses as set forth in
Section 6.2.


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      13.6 Entire Agreement. Except as otherwise stated in this Plan, this Plan
supersedes all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have
become merged and integrated into the Plan.

         13.7 Nonseverability of Plan Provisions. If, prior to Confirmation, any term or
provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court will have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the
remainder of the terms and provisions of the Plan will remain in full force and effect and
will in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or
interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant to its
terms; (2) integral to the Plan and may not be deleted or modified without Debtor’s
consent; and (3) nonseverable and mutually dependent.

      13.8 Limitations on Operations. If the Reorganized Debtor has made all
payments and distributions required under this Plan, all restrictions, negative covenants,
and other limitations on Debtor’s operations provided herein or in the Confirmation
Order will terminate.



Respectfully submitted,

HEILMAN LAW PLLC

 /s/ Ryan D. Heilman
Ryan D. Heilman (P63952)
Attorneys for Debtor
40900 Woodward Ave., Suite 111
Bloomfield Hills, MI 48304
(248) 835-4745
ryan@heilmanlaw.com

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